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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.    07-10221-MLB
                                             )
MICHAEL W. BIGLOW,                           )
                                             )
                         Defendant.          )
                                             )

                              MEMORANDUM AND ORDER
         This case comes before the court on defendant’s motion to
suppress items seized pursuant to a search warrant.                  (Doc. 125).    The
motion has been fully briefed and is ripe for decision.                    (Docs. 126,
141, 143).       Defendant’s motion to suppress is granted for the reasons
herein.
I.       Facts
         In addition to facts concerning defendant’s activities, the
affidavit attached to the application for the search warrant also
contains the activities of Tyrone Andrews, a co-defendant.                       Wichita
police were conducting surveillance on Andrews’ activities and they
also had received authorization for a wiretap.                Facts surrounding the
investigation of Andrews and other co-defendants can be found in this
court’s prior orders.         (Docs. 117 and 122).
         The following are relevant excerpts, specific to defendant, from
the affidavit pertaining to the search in question:
             On July 10, 2007, detectives observed Andrews arrive
         at 1821 S. Ridgewood. A little while later a black male
         arrived at the residence on Ridgewood in a Silver Vovlo
         SUV and walk into the residence carrying a black
         briefcase. The black male was inside the residence for
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    approximately a half hour and then left carrying the
    black briefcase. The SUV was followed by surveillance
    units and was stopped by a Wichita Police Department
    officer just south of Kellogg and Rock R. The black male
    was identified by a Kansas driver’s license as Michael W.
    Biglow, 9320 N. Hydraulic, date of birth: April 26, 1965.
    The officer observed the black briefcase on the front
    passenger seat of the SUV. The officer issued Biglow a
    citation and then released him.
        On July 27, 2007, CS3 reported to detectives that
    Andrews contacted CS3. CS3 said Andrews was concerned
    that people were talking to the police and that they
    might be watching his spot. CS3 said Andrews told CS3
    that the police followed someone he sold two kilos of
    cocaine to recently. According to CS3 Andrews said the
    police stopped this person in the area of Kellogg and
    Rock Rd. after following him for around twenty blocks.
                                 * * *
        On September 10, 2007, Andrews received an incoming
    call on TARGET TELEPHONE 2 from telephone number 316-644-
    4504.   Subscriber records show 316-644-4504 is in the
    name of Michael Biglow, 9320 N. Hydraulic, Wichita, KS.
    The male caller asks Andrews “how we lookin?” Andrews
    asks who it is and the male caller identified himself as
    “Big.” Andrews tells Big that the “other people, they
    said today but they ain’t called me.” Big indicated he’d
    call Andrews back later.
        On September 11, 2007, Andrews received an incoming
    call on TARGET TELEPHONE 2 from 316-644-4504. The male
    caller asked Andrews if they could hook up today or
    tomorrow.
                                 * * *
        On September 12, 2007, Andrews received an incoming
    call on TARGET TELEPHONE 2 from 316-644-4504. The male
    caller asked what was happening. Andrews told the male
    caller he’d probably get back with him tomorrow
    indicating he needed to talk to his people first and that
    “Fat Boy” had called and he needed to see what he wanted.
    Andrews said after he talked to Fat Boy he might have to
    “go mess with my regular people.”
        On September 13, 2007, Andrews received an incoming
    call on TARGET TELEPHONE 2 from 316-644-4504. The male
    caller asked Andrews if his “boy come through.” Andrews
    said he had and the male caller asked, “how many points
    is that?” Andrews indicated it was “one-nine” and then
    the male caller asked him to repeat that. After Andrews

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      repeated it the male caller said “okay, uh two.” Andrews
      said okay and the male caller said he’d call Andrews when
      he got off work.
          On September 14, 2007, at 1727 hours, Andrews placed
      and [sic] outgoing call on TARGET TELEPHONE 2 to 316-644-
      4504.   A male answered the call and indicated he was
      getting ready to go to work to which Andrews responded it
      was about time. The male then said “I’m gonna take it
      with me.” Andrews responded, “Alright, just call me.”
          On September 14, 2007, at 1838 hours, Andrews
      received an incoming call on TARGET TELEPHONE 2 from 316-
      644-4504. A male said he was at the job and asked if
      anything was about to come through.     Andrews answered
      probably the next thirty to forty minutes.
          On September 14, 2007, surveillance units followed
      Andrews to the Bradley Fair parking lot at 21st and Rock
      Rd. [Biglow’s place of employment] where Andrews was
      observed meeting with Michael Biglow. A detective who
      was monitoring their activities saw Andrews contacting
      Michael Biglow in the parking lot but had his view
      obstructed briefly by another vehicle.      Surveillance
      units then observed Andrews and Biglow standing next to
      their vehicles talking for a few minutes.
          On September 21, 2007, Andrews received an incoming
      call on TARGET TELEPHONE 2 from 316-644-4504. The male
      caller asks, “How we lookin’ man?” Andrews responds that
      he hasn’t heard from Fat Boy. The male caller then asks
      Andrews what about the “high boy?” Andrews replies, “And
      then the high boy, shit they only had them other ones
      left and I got them last night.” Andrews then tells the
      caller that he’s on the last one now and the caller
      wanted to know “What you, what you lettin’ it go for?”
      Andrews told the caller he couldn’t have it because he
      already has it sold. In further conversation the caller
      asks Andrews “Damn, so Fat Boy ain’t called you back?
      Your high people coming any time soon?” Andrews told the
      caller it would be a week.
          Detectives have learned through this investigation
      that “Fat Boy” is a Hispanic male by the name of Jose
      Pizana who Andrews has purchased several kilos of cocaine
      from.   Detectives have observed another Hispanic male
      over the last several months arrive at 1821 S. Ridgewood
      for a few minutes carrying a brown bag into the
      residence, which they believe to be the “high dollar”
      source of cocaine to Andrews.
(Doc. 126, exh. 1).


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        On   September     26,    2007,   Magistrate       Judge    Donald      Bostwick
authorized officers to conduct a search at 9320 N. Hydraulic.                        The
search was conducted on September 27, 2007.
II.     Analysis
        Defendant argues that probable cause did not exist for the
search warrant because there was no evidence that a drug transaction
occurred at the residence and that the conversations documented by
officers did not indicate that drugs were being discussed.                   Defendant
also alleges that the challenged evidence is not admissible under the
“good faith” exception to the exclusionary rule.
        1.   Probable Cause
        The Fourth Amendment to the United States Constitution provides
that:
             [t]he right of the people to be secure in their
             persons, houses, papers, and effects, against
             unreasonable searches and seizures, shall not be
             violated, and no Warrants shall issue, but upon
             probable cause, supported by Oath or affirmation,
             and particularly describing the place to be
             searched, and the persons or things to be seized.
U.S. Const. amend. IV.           The validity of a warrant is not determined
by “nit-picking” discreet portions of the application.                    Rather, the
test is whether, under the totality of the circumstances presented in
the affidavit, the issuing judge had a “substantial basis” for
determining that probable cause existed.              Illinois v. Gates, 462 U.S.
213, 238-39 (1983); United States v. Harris, 369 F.3d 1157, 1165 (10th
Cir. 2004) (“In determining whether a search warrant was supported by
probable cause, we review "the sufficiency of the affidavit upon which
a warrant [wa]s issued by looking at the totality of the circumstances
and simply ensuring 'that the [issuing] magistrate had a substantial

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basis for concluding that probable cause existed.'" (internal citation
omitted)).
      Probable cause exists when “the facts presented in the affidavit
would warrant a man of reasonable caution to believe that evidence of
a crime will be found at the place to be searched.”                Harris, 369 F.3d
at 1165 (quoting United States v. Hernandez-Rodriguez, 352 F.3d 1325,
1330 (10th Cir. 2003)).        The Tenth Circuit has adopted the general
rule that probable cause requires a “nexus between [the contraband to
be seized] or suspected criminal activity and                    the place to be
searched.”     United States v. Rowland, 145 F.3d 1194, 1203-04 (10th
Cir. 1998)(quoting United States v. Corral-Corral, 899 F.2d 927, 937
(10th Cir. 1990)).
      The     Supreme      Court   has      observed     that     “a    magistrate’s
‘determination of probable cause should be paid great deference by
reviewing courts.’” Gates, 462 U.S. at 236 (quoting Spinelli v. United
States, 393 U.S. 410, 419 (1969)). In doing so, reviewing courts must
apply the totality of the circumstances test:
             The task of the issuing magistrate judge is simply to
             make a practical, common-sense decision whether,
             given all the circumstances set forth in the
             affidavit before him, including the veracity and
             basis of knowledge of persons supplying hearsay
             information, there is a fair probability that
             contraband or evidence of a crime will be found in a
             particular place. And the duty of a reviewing court
             is simply to ensure that the magistrate had a
             substantial basis for. . . conclud[ing] that probable
             cause existed.
Gates, 462 U.S. at 238-39 (internal citation omitted).
      Defendant argues that probable cause was lacking to support the
search warrant because no nexus existed to connect any illegally
activity to the location searched and that the recorded conversations

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do not establish that a drug transaction was being discussed.                      The
Tenth Circuit requires that a “nexus [exist] between the contraband
to be seized or suspected criminal activity and the place to be
searched.”    United States v. Gonzales, 399 F.3d 1225, 1228 (10th Cir.
2005).     In this case, the affidavit does not establish that drug
activity was observed at the home being searched.             The affidavit does
establish the following: 1) defendant was seen with a black briefcase
entering and leaving a location that is a stash house of Andrews, a
known drug dealer; 2) a confidential informant disclosed that Andrews
was concerned because the police stopped an individual to whom the
dealer had just sold two kilograms of cocaine; 3) defendant made
numerous calls to Andrews inquiring about whether Andrews had heard
from his known suppliers; 4) the location searched was defendant’s
residence and that information was known at the time of the affidavit;
and 5) defendant met with Andrews at his place of employment after
phoning him and telling him that he was “bringing it with” him to
work.
         Unlike   the   government’s   assertion,      the    affidavit      has   not
established that Andrews and defendant were conversing about a drug
transaction on the telephone in that the affidavit lacks any evidence
that the numbers discussed signify drug quantities.                Also, there is
no direct information from the confidential informant or a surveilling
officer that an actual drug transaction occurred.                   Moreover, the
affidavit’s only assertion regarding the residence is the officer’s
statement that “[b]ased upon training and experience, your Affiant
knows that people frequently maintain their financial records and work
related documents in their homes.”           (Doc. 126, exh. 1 at 15).             This

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statement could apply to anyone, including federal judges.
           “[T]he mere fact that an affidavit does not contain personal
knowledge of illegal activity at the residence is not fatal to the
determination of probable cause. . . Where an affidavit describes
circumstances which would warrant a person of reasonable caution to
believe that the articles sought would be at appellant's residence,
then a sufficient nexus has been established.”                    United States v. One
Hundred Forty-Nine Thousand Four Hundred Forty-Two and 43/100 Dollars
($149,442.43) in U.S. Currency, 965 F.2d 868, 874 (10th Cir. 1992)1;
see also United States v. Jimenez, No. 05-2152, 2006 WL 3236503 (10th
Cir. Nov. 9, 2006)(“the affidavit supporting the search warrant need
not contain direct evidence or personal knowledge that the items
sought are located at the place to be searched.”)
           In One Hundred Forty-Nine Thousand Four Hundred Forty-Two and
43/100 Dollars ($149,442.43) in U.S. Currency, 965 F.2d 868, the court
found that probable cause existed to believe that the defendant’s
residence      would    contain    records     of    drug   transactions     after     the
affidavit from the officer that drug dealers kept records in their
homes and evidence that the defendant was a large drug dealer and had
been   for     many    years.     Therefore,        the   court   found   that    it   was
reasonable to believe that he would keep records in his home. In this
case, the affidavit shows two separate interactions with Andrews.
However, no other evidence supports a conclusion that defendant was


       1
       More recently, the Tenth Circuit cited One Hundred Forty-Nine
Thousand Four Hundred Forty-Two and 43/100 Dollars in U.S. Currency,
965 F.2d 868, for the proposition that “courts may properly rely on
an officer's experience in finding probable cause.” Gonzalez, 399
F.3d 1225, 1231.

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supplying drugs to any other individuals.               Rather, based on the
evidence, it is only plausible to believe that defendant may have
purchased drugs from Andrews on two occasions (but, again, there was
no visual or informant confirmation that a sale took place). However,
no evidence supports the conclusion that records of drug sales and/or
co-conspirators would be found at the residence, i.e. evidence that
defendant in turn sold those drugs to any individuals or that he
returned home with the drugs in tow. Therefore, it would be a stretch
to presume that defendant would have records of drug transactions in
his home, a location that was never visited by anyone.
      The court finds that the affidavit was insufficient to establish
that probable cause existed to search 9320 N. Hydraulic.
      2.   Good Faith Exception
      Even though the affidavit was legally insufficient, the court
may uphold the search if the officers executing the search warrant
acted with an objective good-faith belief that the warrant was
properly issued by a neutral magistrate.           See United States v. Leon,
468 U.S. 897 (1984).
      The Supreme Court recognizes four situations in which an officer
would not have reasonable grounds for believing a warrant was properly
issued.    In   these   situations,    the    good-faith      exception     to   the
exclusionary rule would not apply.
           First, evidence should be suppressed if the
           issuing magistrate was misled by an affidavit
           containing false information or information that
           the affiant would have known was false if not for
           his “reckless disregard of the truth.” Second,
           the exception does not apply when the “issuing
           magistrate wholly abandon[s her] judicial role.”
           Third, the good-faith exception does not apply
           when the affidavit in support of the warrant is

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           “so lacking in indicia of probable cause as to
           render official belief in its existence entirely
           unreasonable.”   Fourth, the exception does not
           apply when a warrant is so facially deficient
           that the executing officer could not reasonably
           believe it was valid.
United States v. Danhauer, 229 F.3d 1002, 1007 (10th Cir. 2000)
(citing throughout United States v. Leon, 468 U.S. 897 (1984)).
       Defendant argues that reliance on the affidavit by officers in
executing the search warrant was unreasonable, in violation of Leon.
When reviewing the reasonableness of an officer’s reliance upon a
search warrant, a court "must examine the underlying documents to
determine whether they are 'devoid of factual support.'" United States
v. Danhauer, 229 F.3d 1002, 1006 (10th Cir. 2000) (quoting United
States v. McKneely, 6 F.3d 1447, 1454 (10th Cir. 1993)).
       The government makes the argument that the Leon good faith
exception should apply because “officers are entitled to rely upon the
probable cause determination of a neutral and detached magistrate” and
“the   officers    were    justified   in    relying    upon    the   magistrate’s
determination that probable cause existed to search defendant Biglow’s
residence.”       However, no nexus exists between the residence and
evidence of the documents sought to seized.              An experienced officer
would know that the Circuit requires that nexus to exist.                A complete
lack of any nexus cannot be saved by the Leon good faith exception.
United States v. Gonzalez, 399 F.3d 1225, 1231 (10th Cir. 2005).
Based on the facts set forth in the affidavit the court fails to see
how an officer could reasonably believe that documents indicative of
drug sales, i.e. narcotics ledgers, distribution lists, etc., would
be found in the residence.


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       In a similar case to the one at bar, the Sixth Circuit found
that the Leon good faith exception did not apply and that the evidence
seized from the search must be suppressed. United States v. Laughton,
409 F.3d 744, 751-52 (6th Cir. 2005). In that case, the officers used
a confidential informant to buy drugs from the defendant on two
occasions.    The officers then sought a warrant for the location
believed to be used by the defendant.          The court determined that the
“two acontextual allegations” against defendant were not sufficient
to establish a nexus between the residence and the items sought and
that no “reasonable officer could have believed that the affidavit was
not so lacking in indicia of probable cause as to be reliable.”              Id.
at 751.
       Similar to Laughton, the affidavit in this case is so lacking
in indicia of probable cause that no reasonable officer would believe
that it was reliable.          There is absolutely no support for the
conclusion that any evidence of criminal activity would be discovered
at the residence.
       Defendant’s motion to suppress is granted.


       IT IS SO ORDERED.
       Dated this     6th     day of June 2008, at Wichita, Kansas.


                                           s/ Monti Belot
                                           Monti L. Belot
                                           UNITED STATES DISTRICT JUDGE




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